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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               :
In re:                                                         :    Chapter 11
                                                               :
CHISHOLM OIL AND GAS OPERATING,                                :    Case No. 20-11593 (BLS)
LLC, et al.,                                                   :
                                                               :    (Jointly Administered)
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         Debtors.                                              :
                                                               :

                                 NOTICE OF APPEARANCE AND
                               REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that pursuant to Rules 2002 and 9010(b) of the Federal Rules

of Bankruptcy Procedure and sections 102(1), 342 and 1109(b) of the United States Bankruptcy

Code, 11 U.S.C. §§ 101, et seq., Paul Hastings LLP and Blank Rome LLP hereby appear as

proposed counsel on behalf of the Official Committee of Unsecured Creditors (the “Committee”)

in the above-captioned bankruptcy cases. The Committee hereby requests that all notices given or

required to be given in these cases and all papers served or required to be served in these cases, be

given to and served upon the following:

           Regina Stango Kelbon, Esq.                                  James T. Grogan, Esq.
               Stanley B. Tarr, Esq.                                   Kevin P. Broughel, Esq.
                Bryan J. Hall, Esq                                    Michael C. Whelan, Esq.
               BLANK ROME LLP                                            Mack Wilson, Esq.
          1201 Market Street, Suite 800                                PAUL HASTINGS LLP
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           Facsimile: (302) 425-6464                                Telephone: (713) 860-7300
         Email: Kelbon@BlankRome.com                                 Facsimile: (713) 353-3100
             Tarr@BlankRome.com                                Email: jamesgrogan@paulhastings.com
            BHall@BlankRome.com                                  kevinbroughel@paulhastings.com
                                                                michaelcwhalen@paulhastings.com
                                                                  mackwilson@paulhastings.com

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are Chisholm Oil and Gas Operating II, LLC (8730); Chisholm Oil and Gas Operating, LLC
(5382); Cottonmouth SWD, LLC (9849); Chisholm Oil and Gas Nominee, Inc. (1558); and Chisholm Oil and Gas
Management II, LLC (8174). The Debtors’ mailing address is 1 West Third Street, Suite 1700, Tulsa, OK 74103.

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        PLEASE TAKE FURTHER NOTICE that the foregoing request includes the notices and

papers referred to in Bankruptcy Rule 2002, and also includes, without limitation, orders and

notices of any application, motion, petition, pleading, request, complaint, or demand, whether

formal or informal, whether written or oral, and whether transmitted or conveyed by mail, hand

delivery, telephone, telegraph, facsimile, or otherwise, which affect or seeks to affect in any way

the above-captioned Debtors or the property of the Debtors, or any of the rights or interests held

or asserted by the Committee with respect to the Debtors or property of the Debtors.


        PLEASE TAKE FURTHER NOTICE that this request shall not be deemed or construed

to be a waiver of any substantive or procedural rights of the Committee, including without

limitation, to: (a) challenge the jurisdiction of this Court to adjudicate any matter, including,

without limitation, any non-core matter; (b) require that where any adversary proceeding is to be

initiated against the Committee in these cases or any related case or where any proceeding is to be

initiated by complaint against the Committee under applicable non-bankruptcy law, service shall

be made on the Committee in accordance with applicable Bankruptcy Rules, the Federal Rules of

Civil Procedure, and applicable non-bankruptcy law and that service upon undersigned counsel is

insufficient for such purposes; (c) have final orders in non-core matters entered only after de novo

review by the United States District Court for the District of Delaware; (d) trial by jury in any

proceeding so triable in these cases or any case, controversy, or proceeding related to these cases;

(e) have the District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal; or (f) any other rights, claims, actions, defenses, setoffs or recoupments

to which the Committee is or may be entitled in law or at equity, all of which rights, claims, actions,

defenses, setoffs or recoupments the Committee expressly reserves and asserts.



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Dated: July 8, 2020                           BLANK ROME LLP
Wilmington, Delaware
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                                              -and-

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                                              Proposed Counsel to the Official Committee
                                              of Unsecured Creditors




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